         Case 1:20-cv-01362-MKV Document 21 Filed 10/21/20 Page 1 of 1




UNITED STATES DISTRICT COURT                                           USDC SDNY
SOUTHERN DISTRICT OF NEW YORK                                          DOCUMENT
                                                                       ELECTRONICALLY FILED
 A.P., and F.R., individually and on behalf of                         DOC #:
 N-E.P.,                                                               DATE FILED: 10/21/2020

                            Plaintiffs,
                                                                1:20-cv-01362 (MKV)
                     -against-
                                                                        ORDER
 NEW YORK CITY DEPARTMENT OF
 EDUCATION,

                            Defendant.

MARY KAY VYSKOCIL, United States District Judge:

       The Court held a Post-Discovery Conference in this case on October 21, 2020. This

Order memorializes the Court’s rulings at the conference.

       IT IS HEREBY ORDERED that on or before October 23, 2020 at 4:00PM, Defendant

must re-send to Plaintiffs’ counsel (both Ms. Spencer Walsh and Mr. Walz) Defendant’s requests

for documents concerning the 2019-2020 school year, as described in the Parties’ joint letter

[ECF #20]. Plaintiffs’ counsel must respond to Defendant’s email by October 30, 2020.

       IT IS FURTHER ORDERED that on or before November 4, 2020, the Parties must file

on ECF a joint status letter concerning the Parties’ attempts to resolve this case.



SO ORDERED

Dated: October 21, 2020
       New York, New York                             __________________________________
                                                             MARY KAY VYSKOCIL
                                                            United States District Judge




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